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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
 __________________________________________
 ALESSANDRO BERNI, GIUISEPPE                   )
 SANTOCHIRICO, MASSIMO SIMIOLI, and            )
 DOMENICO SALVATI, on behalf of themselves ) Case No. 1:16-cv-04196(ENV)
 and all others similarly situated,            )
                                               )
                         Plaintiffs,           )
                                               )     AMENDED CLASS ACTION
         v.                                    )           COMPLAINT
                                               )
 BARILLA G. e R. FRATELLI S.p.A. and           )      JURY TRIAL DEMANDED
 BARILLA AMERICA, INC. d/b/a BARILLA           )
 USA,                                          )
                                               )
                         Defendants.           )
 __________________________________________

          Plaintiffs Alessandro Berni, Giuiseppe Santochirico, Massimo Simioli, and Domenico

Salvati (“Plaintiffs”), by and through their undersigned attorneys, bring this class action

complaint on behalf of themselves and all others similarly situated (the “Class”) alleging facts

related to their own purchases based on personal knowledge and all other facts based upon the

investigation of counsel.

                                PRELIMINARY STATEMENT

          1.    Defendant Barilla G. e R. Fratelli S.p.A. and its subsidiaries, including defendant

Barilla America, Inc. d/b/a Barilla USA (collectively, “Barilla” or the “Company”), produce and

market various kinds of pasta worldwide. The Company is the largest pasta manufacturer in the

world and Barilla’s pasta accounts for approximately one-quarter of all pasta sold in the United

States.    In addition to being sold in restaurants, Barilla pastas are widely sold directly to

consumers in an iconic blue box that can be found at supermarkets and retail outlets throughout

New York and the United States.
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       2.      For much of Barilla’s history, the Company’s pastas, while sold in different

shapes, were marketed as an “enriched macaroni product” made using semolina flour and durum

wheat flour. These pastas are referred to herein as Barilla’s “traditional” pastas. In recent years,

consumers’ dietary habits have changed. As health conscious eating has become more prevalent,

Barilla has attempted to maintain market share by introducing pastas that purport to be more

health-conscious than the traditional pastas. These specialty products include pastas labeled

“Gluten Free,” “Whole Grain,” “ProteinPLUS,” and “White Fiber,” among others. The specialty

pastas are more expensive than the traditional pastas.

       3.      Barilla packages and sells the specialty pastas in boxes that are the same size, or

appear to be the same size, as the iconic boxes it uses for its traditional pastas. However, unlike

the boxes it uses for its traditional pastas, Barilla knowingly under-fills the boxes containing the

specialty pastas. As a result, the boxes containing the specialty pastas contain material amounts

of empty space, otherwise known as “non-functional slack-fill.”           Indeed, a simple visual

inspection of the inside of each box of specialty pasta reveals that the boxes are not full and

contain a material amount of empty space. However, because the boxes are predominantly made

of opaque cardboard, prior to purchase consumers cannot see that the specialty pasta boxes

contain significant empty space.

       4.      Barilla’s practice of under-filling the specialty pasta boxes is intentional. That is

because Barilla packages the specialty pastas in the same size boxes it uses for its traditional

pastas. However, whereas the traditional pasta boxes are sold full of traditional pasta, the same

size boxes that are used for the specialty pastas contain substantially less specialty pasta – which

are the same shape and size of the traditional pastas. Barilla is clearly capable of filling same-

sized boxes of pasta with the same volume of pasta but chooses not to. Instead, Barilla markets



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and sells its specialty pastas in same-sized boxes as the traditional pastas but with substantially

less pasta. The empty space in the specialty boxes is therefore intentional.

        5.     The additional empty space in each box of specialty pasta is not visible prior to

purchase, serves no purpose, and constitutes prohibited non-functional slack-fill. By selling the

specialty pastas with hidden non-functional slack-fill, Barilla deceives consumers, who are led to

believe that each box is full of pasta, when it actually contains significant hidden empty space.

        6.     This is a consumer protection action arising out of deceptive and otherwise

improper business practices that Barilla engaged in with respect to the packaging of certain of its

pasta products, detailed below, which are packaged in boxes and regularly sold at supermarkets,

grocery stores, convenience stores, and pharmacies.

                                JURISDICTION AND VENUE

        7.     This Court has original jurisdiction over the claims asserted herein individually

and on behalf of the Class pursuant to 28 U.S.C. §1332(d). Subject matter jurisdiction is proper

because: (1) the amount in controversy in this class action exceeds five million dollars, exclusive

of interest and costs; and (2) the named Plaintiffs and defendants are citizens of different states.

28 U.S.C. §1332(d)(2)(A).

        8.     Venue is proper in this district pursuant to 28 U.S.C § 1391(a) because a

substantial part of the events giving rise to Plaintiffs’ claims occurred in this district, and

defendants are subject to personal jurisdiction in this district. Defendants marketed and sold the

products at issue in this action within this judicial district and do business within this judicial

district.




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                                            PARTIES

       9.      Plaintiff Alessandro Berni (“Berni”) is a citizen of the state of New York and

resides in Bronx County. Between September 2015 and April 2016, plaintiff Berni purchased,

for his own consumption, a 12 ounce (340 gram) box of Gluten Free penne, a 13.24 ounce (375

gram) box of Whole Grain rotini, a 13.25 ounce (375 gram) box of Whole Grain medium shells,

a 13.25 ounce (375 gram) box of Whole Grain linguine, and a 13.25 ounce (375 gram) box of

Whole Grain spaghetti in Bronx, New York. Plaintiff Berni reasonably expected that these

boxes were full of pasta and did not know that in fact they contained substantial hidden empty

space, and was actually deceived. As a result of Barilla’s deceptive packaging, plaintiff Berni

was overcharged, did not receive the benefit of the bargain, and/or suffered out-of-pocket loss.

Plaintiff Berni expects to continue to purchase Barilla products in the future.

       10.     Plaintiff Domenico Salvati (“Salvati”) is a citizen of the state of New York and

resides in Kings County. Between May and July 2016, plaintiff Salvati purchased, for his own

consumption, one 13.25 ounce (375 gram) box of Barilla Whole Grain medium shells in

Brooklyn, New York. Plaintiff Salvati reasonably expected that these boxes were full of pasta

and did not know that in fact they contained substantial hidden empty space, and was actually

deceived. As a result of Barilla’s deceptive packaging, plaintiff Salvati was overcharged, did not

receive the benefit of the bargain, and/or suffered out-of-pocket loss. Plaintiff Salvati expects to

continue to purchase Barilla products in the future.

       11.     Plaintiff Mossimo Simioli (“Simioli”) is a citizen of the state of New York and

resides in Kings County.       During May 2016, plaintiff Simioli purchased, for his own

consumption, a 14.5 ounce (411 gram) box of ProteinPLUS spaghetti and a 14.5 ounce (411

gram) box of ProteinPLUS penne in Brooklyn, New York.                 Plaintiff Simioli reasonably



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reasonably expected that these boxes were full of pasta and did not know that in fact they

contained substantial hidden empty space, and was actually deceived. As a result of Barilla’s

deceptive packaging, plaintiff Simioli was overcharged, did not receive the benefit of the

bargain, and/or suffered out-of-pocket loss. Plaintiff Simioli purchased the pastas throughout

2016, including during May 2016. Plaintiff Simioli expects to continue to purchase Barilla

products in the future.

       12.     Plaintiff Giuseppe Santochirico (“Santochirico”) is a citizen of the state of New

York and resides in Queens County. During 2016, plaintiff Santochirico purchased, for his own

consumption, a 14.5 ounce (411 gram) box of ProteinPLUS spaghetti in Queens, New York.

Plaintiff Santochirico reasonably expected that these boxes were full of pasta and did not know

that in fact they contained substantial hidden empty space, and was actually deceived. As a

result of Barilla’s deceptive packaging, plaintiff Santochirico was overcharged, did not receive

the benefit of the bargain and/or suffered out-of-pocket loss. Plaintiff Simioli purchased the

pastas throughout 2016, including during February and March 2016. Plaintiff Santochirico

expects to continue to purchase Barilla products in the future.

       13.     Defendant Barilla G. e R. Fratelli S.p.A. (“Barilla S.p.A.”) is an entity organized

under the laws of Italy and headquartered at Parma, Italy. Defendant Barilla S.p.A. is the parent

company and owner of defendants Barilla USA and Barilla America, Inc. (“Barilla America”).

Barilla S.p.A., through its subsidiaries, manufactures, packages, advertises, markets, distributes,

and/or sells pasta products in the United States.

       14.     Defendant Barilla America is an entity organized under the laws of Illinois and

headquartered at 1200 Lakeside Drive, Bannockburn, Illinois 60015. Defendant Barilla America




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manufactures, packages, advertises, markets, distributes, and/or sells pasta products in the United

States in packaging that contains non-functional slack-fill.

       15.       Defendant Barilla USA is, upon information and belief, a d/b/a entity for either

Barilla S.p.A. or Barilla America and is headquartered at 885 Sunset Ridge Road, Northbook, IL

60062. Defendant Barilla USA manufactures, packages, advertises, markets, distributes, and/or

sells pasta products in the United States.

                                  FACTUAL ALLEGATIONS

       16.       For decades, Barilla has sold pasta in non-transparent cardboard boxes that

contain a transparent oval window. These blue Barilla boxes are so iconic as to have become an

industry norm.

       17.       At an unknown time, Barilla began to intentionally ship the specialty pastas in

thousands, if not millions, of these same-sized boxes, and boxes that appeared to be the same

size when placed on a shelf, with materially less pasta inside. Rather than change the size of the

specialty pasta boxes from the traditional size to a new size that reflected the reduced fill, Barilla

deceptively and misleadingly continued to use the same traditional-sized boxes that had been

used for decades, giving the false impression that the specialty versions of its pasta were being

sold in the same volume per box as the traditional “enriched macaroni product.”

       18.       Accordingly, Barilla’s specialty pastas are sold in boxes that are substantially

under-filled and thus deceptive because: (a) they contain a substantial amount of unnecessary

hidden empty space, known as non-functional slack-fill; and (b) they contain substantially less

pasta than Barilla’s own identically-sized boxes of traditional pasta.        Plaintiffs’ claims are

independent of the weight labels on Barilla’s pasta boxes.




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       19.    Barilla sells spaghetti pasta in rectangular boxes. Sold in these boxes are both the

traditional type of spaghetti, and several specialty types, including Gluten Free and

ProteinPLUS. The boxes of traditional spaghetti are sold full of pasta. The boxes of specialty

spaghetti, while the same size as the boxes of traditional spaghetti, contain significant

unnecessary empty space and are not full.       As a result, the boxes of specialty spaghetti

deceptively appear to be full, when they actually contain significant unnecessary, hidden empty

space. Barilla intentionally sells the specialty spaghetti boxes with this unnecessary, hidden

empty space. A comparison of three different types of spaghetti and the same-sized box in

which they are packaged, is shown in Image 1, below.




                                            Image 1

       20.    While the traditional box of spaghetti contains one-pound (16 ounces) of

spaghetti, the same-sized boxes of Gluten Free and ProteinPLUS spaghetti contain materially

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less pasta, and therefore, materially more unused space, or slack-fill. A box of Gluten Free

spaghetti contains only 12 ounces of spaghetti, or roughly 25% less product in the same-size box.

The space that holds the additional four ounces of spaghetti in the traditional box is non-

functional slack-fill in the Gluten Free box. Likewise, the box containing ProteinPLUS spaghetti

contains only 14.5 ounces of spaghetti, or roughly 10% less product than the same-sized box of

traditional spaghetti. The space that holds the additional volume of spaghetti in the traditional

box is non-functional slack-fill in the Gluten Free and ProteinPLUS boxes. Consumers are

unable to see that the boxes of Gluten Free and ProteinPLUS spaghetti contain significantly more

unused space than the boxes of traditional spaghetti because the boxes are opaque. Also, Barilla

sells the specialty spaghettis in boxes that have a smaller cellophane window than the traditional

box in order to obscure the fact that the boxes containing the specialty pasta are not full.

       21.     Barilla also intentionally under fills other types of specialty pastas. For example,

Barilla’s boxes of specialty elbows pasta are also under-filled. Barilla uses a same sized box to

sell the traditional version of elbows pasta and the Whole Grain version. The ProteinPLUS

version is sold in a similar-sized, but slightly larger box. A comparison of the boxes in which

these three types of elbows pasta are sold is shown in Image 2, below.




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                                             Image 2

       22.     The box containing Whole Grain elbows is approximately 20% less full than the

box containing the traditional elbows. The space that holds the additional pasta in the traditional

box is non-functional slack-fill in the Whole Grain box. This additional empty space is not

visible prior to opening the box.

       23.     Likewise, while the ProteinPLUS elbows are sold in a box that appears to be the

same size as the traditional elbows box when viewed from the front, as on a supermarket shelf,

the ProteinPLUS box is slightly deeper (as demonstrated above in Image 2). Barilla therefore

increased the size of the box it uses for the ProteinPLUS elbows but filled it with even less pasta

than the smaller traditional elbows box, leaving the ProteinPLUS box approximately 25% less

full. The space holding the additional pasta in the traditional box is non-functional slack-fill in

the ProteinPLUS box. This additional empty space is not visible prior to opening the box.

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       24.     By manipulating box size and the amount of empty space not visible to consumers

in the specialty elbows pasta to give the impression that the boxes are full of pasta when they are

not, Barilla deceives consumers.

       25.     Barilla employs the same practice to under-fill other types of specialty pasta,

including penne, shells, and lasagna, among others. For example, a comparison of three different

types of penne pasta products and the same-sized box in which they are packaged is shown in

Image 3, below.




                                             Image 3

       26.     By using the traditional-sized boxes that have been recognized in the consumer

marketplace for many years, but under-filling them with specialty pasta, Barilla knowingly and

deceptively sells customers substantially less-full boxes of pasta and misleads them into thinking

that they are purchasing more pasta than they actually are. While the boxes do identify the net

weights in small print at the bottom of the box, consumers are not otherwise informed of this

material change in the volume of pasta inside, or that the boxes are substantially under-filled.


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Barilla relies on consumer familiarity with the box size and appearance -- following decades of

marketing by Barilla -- to mislead consumers into thinking they are purchasing the same volume

of pasta when, in reality, the Company is intentionally selling specialty pastas in boxes that

contain substantially more hidden empty space, and less pasta, than they appear to.            By

misleading consumers in this manner, Barilla is able to capitalize on the market for Gluten Free,

Whole Wheat, ProteinPLUS, and White Fiber, while selling considerably less product,

preserving, and/or increasing its margins, and conveying a favorable appearance relative to its

own and competing products.

       A.      Whole Grain Pastas

       27.     Each of the Barilla Whole Grain pastas is a different shaped version of the same

product. Each contains the same one ingredient: whole grain durum wheat flour. Each is also

marketed and sold in boxes that are substantially under-filled.

       28.     Barilla’s non-transparent boxes of Whole Grain pasta, including, but not limited

to spaghetti, medium shells, elbows, and linguine, are sold with approximately 17% less pasta

per box, and therefore significantly more hidden empty space, than the corresponding traditional

pastas. As a result, they deceptively appear to be full of pasta when they are not.

       B.      White Fiber Pastas

       29.     Each of the Barilla White Fiber pastas is a different shaped version of the same

product. Each contains the same ingredients: semolina, durum wheat flour, whole durum wheat

flour, corn starch, niacin, iron, thiamine mononitrate, riboflavin, and folic acid. Each is also

marketed and sold in boxes that are substantially under-filled.

       30.     Barilla’s non-transparent boxes of White Fiber pasta, including, but not limited to

spaghetti, are sold approximately 25% less pasta per box than the corresponding traditional



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pastas, and therefore significantly more hidden empty space, than the corresponding traditional

pastas. As a result, they deceptively appear to be full of pasta when they are not.

       C.       ProteinPLUS Pastas

       31.      Each of the Barilla ProteinPLUS pastas is a different shaped version of the same

product. Each contains the same ingredients: semolina, grain and legume flour blend, durum

wheat flour, niacin, iron, thiamine mononitrate, riboflavin, and folic acid. Each is also all

marketed and sold in boxes that are substantially under-filled.

       32.      Barilla’s non-transparent boxes of ProteinPLUS pasta, including, but not limited

to spaghetti, penne, and elbows, are sold approximately with 10% less pasta per box than the

corresponding traditional pastas, and therefore significantly more hidden empty space, than the

corresponding traditional pastas. As a result, they deceptively appear to be full of pasta when

they are not.

       D.       Gluten Free Pastas

       33.      Each of the Barilla Gluten Free pastas is a different shaped version of the same

product. Each contains the same ingredients: corn flour, rice flour, and mono and diglycerides.

Each is also all marketed and sold in boxes that are substantially under-filled.

       34.      Barilla’s non-transparent boxes of Gluten Free pasta, including, but not limited to

penne and rotini, are sold with approximately 25% less pasta per box than the corresponding

traditional pastas, and therefore significantly more hidden empty space, than the corresponding

traditional pastas. As a result, they deceptively appear to be full of pasta when they are not.

       E.       Non-Functional Slack-Fill

       35.      Barilla’s deceptive practice described above is known as “slack-fill.”

Regulations under the Federal Food Drug and Cosmetic Act (“FDCA”) prohibit non-functional

slack-fill as set forth in 21 C.F.R. 100.100:

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              In accordance with section 403(d) of the act, a food shall be deemed to be
       misbranded if its container is so made, formed, or filled as to be misleading.

              (a) A container that does not allow the consumer to fully view its contents
              shall be considered to be filled as to be misleading if it contains
              nonfunctional slack-fill. Slack-fill is the difference between the actual
              capacity of a container and the volume of product contained therein.
              Nonfunctional slack-fill is the empty space in a package that is filled to
              less than its capacity for reasons other than:

                      (1) Protection of the contents of the package;

                      (2) The requirements of the machines used for enclosing the
                      contents in such package;

                      (3) Unavoidable product settling during shipping and handling;

                      (4) The need for the package to perform a specific function (e.g.,
                      where packaging plays a role in the preparation or consumption of
                      a food), where such function is inherent to the nature of the food
                      and is clearly communicated to consumers;

                      (5) The fact that the product consists of a food packaged in a
                      reusable container where the container is part of the presentation of
                      the food and has value which is both significant in proportion to
                      the value of the product and independent of its function to hold the
                      food, e.g., a gift product consisting of a food or foods combined
                      with a container that is intended for further use after the food is
                      consumed; or durable commemorative or promotional packages; or

                      (6) Inability to increase level of fill or to further reduce the size of
                      the package (e.g., where some minimum package size is necessary
                      to accommodate required food labeling (excluding any vignettes or
                      other nonmandatory designs or label information), discourage
                      pilfering, facilitate handling, or accommodate tamper-resistant
                      devices).

       36.    Under rules promulgated by the Food and Drug Administration, accurate weight

does not exculpate misleading non-functional slack-fill (58 FR 61423, 64128-29), package size is

a representation of quantity (58 FR 64131), and consumers do not need to manipulate packages

in order to determine the amount of slack-fill (58 FR 64128).




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       37.     As a result of Barilla’s misleading and deceptive use of traditional-sized, non-

transparent boxes with unlawful slack-fill, Plaintiffs and the Class have purchased boxes of pasta

that contain substantially less pasta than Plaintiffs and the Class expected and had previously

received when purchasing the original type of Barilla pasta.

       38.     By this conduct, defendants violated New York law prohibiting the misbranding

of food in language identical to that found in regulations promulgated pursuant to the FDCA, 21

U.S.C. §§ 343 et seq. Pursuant to N.Y. Agric. & Mkts. Law § 201 (Reuters 2016), “[f]ood shall

be deemed to be misbranded: 1. If its labeling is false or misleading in any particular. … 4. If its

container is so made, formed, colored or filled as to be misleading.”

       39.     Further, defendants have also violated the Rules of the City of New York which

provides that foods are deemed misbranded “in accordance with the Federal Food, Drug and

Cosmetic Act (21 U.S.C. §343) or the New York State Agriculture and Markets Law (§ 201)

under circumstances including, but not limited to, any of the following: (1) If its labeling is false

or misleading in any particular. . . . (4) If its container is so made, formed, colored or filled as to

be misleading . . . .” See 24 R.C.N.Y. Health Code § 71.05(d).

       40.     Plaintiffs and the Class have been damaged by Barilla’s violations of the

foregoing laws, rules, and regulations.

                               CLASS ACTION ALLEGATIONS

       41.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23 on behalf of themselves and the Class defined as follows:

       All purchasers of Barilla “Gluten Free,” “Whole Grain,” “ProteinPLUS,” and “White
       Fiber” pastas who purchased the products for personal, family, or household use due to
       Barilla’s deceptive practice of slack-filling, and did not resell them.

       Excluded from the Class are defendants; the officers, directors or employees of
       defendants; any entity in which the defendants have a controlling interest; and any

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        affiliate, legal representative, heir or assign of defendants. Also excluded are the judge to
        whom this case is assigned and any member of the judge’s immediate family.

        42.     The Class is sufficiently numerous because the pastas at issue are sold in

thousands of stores and thousands of people have purchased them during the relevant period. As

a result, joinder of all purchasers is impractical.

        43.     There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

                       Whether defendants labeled, packaged, marketed, advertised, and/or sold

products using false, misleading, and/or deceptive packaging and labeling;

                       Whether defendants’ actions constitute violations of 21 U.S.C. § 343(d);

                       Whether defendants’ actions constitute violations of misbranding laws in

New York;

                       Whether defendants’ actions constitute deceptive and unfair practices

and/or violations of consumer protection laws in New York;

                       Whether defendants omitted and/or misrepresented material facts in

connection with the labeling, packaging, marketing, advertising, and/or selling of Barilla pasta;

                       Whether defendants’ labeling, packaging, marketing, advertising, and/or

selling of products constituted an unfair, unlawful, or fraudulent practice;

                       Whether the packaging of the pastas during the relevant statutory period

constituted unlawful non-functional slack-fill;

                       Whether the members of the Class have sustained damages as a result of

defendants’ wrongful conduct;

                       Whether defendants were unjustly enriched;

                       The appropriate measure of damages and/or other relief; and


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                      Whether defendants should be enjoined from continuing their unlawful

practices.
        44.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of consumer and class action litigation. Plaintiffs

have no interests antagonistic to those of other members of the Class. Plaintiffs are committed to

the vigorous prosecution of this action and have retained counsel experienced in litigation of this

nature to represent them. Plaintiffs anticipate no difficulty in the management of this litigation

as a class action.

        45.     Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by defendants’ wrongful conduct.

        46.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy. Because of the amount of the individual Class members’ claims

relative to the complexity of the litigation and the financial resources of the defendants, few, if

any, members of the Class would seek legal redress individually for the wrongs complained of

here. Absent a class action, Class members will continue to suffer damages and defendants’

misconduct will proceed without remedy.

                                     CAUSES OF ACTION

                                      COUNT I
                          VIOLATIONS OF NEW YORK GBL § 349

        47.     Plaintiffs, on behalf of themselves and the Class, incorporate by reference and

reallege each and every allegation set forth above, as though fully set forth herein. Defendants

violated N.Y. Gen. Bus. Law § 349 by engaging in unfair, misleading, deceptive, and/or

unlawful acts and practices.




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       48.     Plaintiffs and the members of the Class are “persons” within the meaning of N.Y.

Gen. Bus. Law § 349(h). Plaintiffs and the members of the Class are consumers.

       49.     N.Y. Gen. Bus. Law § 349(a) makes unlawful deceptive acts or practices in the

conduct of any business, trade, or commerce or in the furnishing of any service in New York

State. Defendants engaged in business, trade, or commerce, or in the furnishing of service in

New York.

       50.     Barilla’s conduct complained of herein consisted of deceptive acts and practices

in the form of misrepresentations and omissions during conduct of business in New York in

violation of N.Y. Gen. Bus. Law § 349(a): the sale of pasta in misleading packages designed to

conceal unlawful, non-functional slack-fill.

       51.     Barilla knew or should have known that its practices, as discussed herein, were

misleading and likely to deceive and mislead Plaintiffs and the Class.

       52.     Plaintiffs and the Class have been injured as a result of Barilla’s violations of

N.Y. Gen. Bus. Law § 349(a).

       53.     Barilla’s deceptive and misleading acts and practices have directly, foreseeably,

and proximately caused damages and injury to Plaintiffs and the Class.

       54.     Plaintiffs are entitled to pursue claims against Barilla under N.Y. Gen. Bus. Law §

349(h) to redress Barilla’s violations of N.Y. Gen. Bus. Law § 349(a).

                                     COUNT II
                          UNJUST ENRICHMENT, NATIONWIDE

       55.     Plaintiffs, on behalf of themselves and the Class, incorporate by reference and

reallege each and every allegation set forth above, as though fully set forth herein.

       56.     As a result of defendants’ deceptive, fraudulent, and misleading labeling,

packaging, advertising, marketing, and selling of the pastas, defendants were enriched, at the

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expense of Plaintiffs and all others similarly situated, through the payment of the purchase price

for the pastas.

        57.       Under the circumstances, it would be against equity and good conscience to

permit defendants to retain the ill-gotten benefits that they received from Plaintiffs, and all others

similarly situated, in light of the fact that the quantity of pasta purchased by Plaintiffs, and all

other similarly situated, was not what defendants purported it to be by its labeling and packaging.

Thus, it would be unjust or inequitable for defendants to retain the benefit without restitution to

Plaintiffs, and all others similarly situated.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated, pray

for relief and judgment against defendants as follows:

        (A) An Order certifying the nationwide Class and under Rule 23 of the Federal Rules of

Civil Procedure and naming Plaintiffs as representatives of the Class and Plaintiffs’ attorneys as

Class Counsel to represent members of the Class;

        (B) An Order declaring defendants’ conduct violates the statutes referenced herein;

        (C) An Order finding in favor of Plaintiffs and members of the Class;

        (D) Compensatory and punitive damages in amounts to be determined by the Court

and/or jury;

        (E) Prejudgment interest on all amounts awarded;

        (F) An Order of restitution and all other forms of equitable monetary relief;

        (G) Injunctive relief to repackage the pastas without non-functional slack-fill as pleaded

or as the Court may deem proper;




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       (H) An Order awarding Plaintiffs and members of the Class their reasonable attorneys’

fees and expenses and costs of suit; and,

       (I) Such other and further relief as the Court deems just and proper.

Dated: December 5, 2016                              HARWOOD FEFFER LLP

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